                       IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                                 WESTERN DIVISION
                             Case No. 5:23-cv-00095-BO-RN

 SVB FINANCIAL GROUP and FDIC AS                     )
 RECEIVER FOR SILICON VALLEY BANK,                   )
                                                     )
                             Plaintiffs,             )       ORDER
                                                     )
                      V.                             )
                                                     )
 FEDERAL INSURANCE COMPANY and                       )
 BERKLEY REGIONAL INSURANCE                          )
 COMPANY,                                            )
                                                     )
                             Defendants.             )


       The Court, having considered Plaintiff SVB Financial Group's ("SVBFG" or "Plaintiff')

Motion to Join SVB Financial Trust ("Motion"), determines that good cause exists to grant

Plaintiffs Motion.

       NOW THEREFORE, the Court GRANTS Plaintiffs Motion and hereby ORDERS that

SVB Financial Trust be joined as a Plaintiff in this action pursuant to Federal Rule of Civil

Procedure 25(c).


                                           I


SO ORDERED, this     J_J_ day of ~ , 2025.


                                           ::I:c~d~
                                               UNITED STATES DISTRICT JUDGE




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